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In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00854-CR
____________

HOMER LEE BROWN, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 253rd Judicial District Court
Chambers County, Texas
Trial Court Cause No. 13230



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant pleaded guilty to the first degree felony offense of  aggravated
robbery and pleaded true to the allegations in two enhancement paragraphs.  In
accordance with appellant’s  plea bargain agreement with the state, the trial court
sentenced appellant to confinement for 30 years with an affirmative finding that a
deadly weapon was used during the commission of the offense.  Appellant filed a
timely notice of appeal.  We dismiss for lack of jurisdiction. &nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In a plea-bargained case in which the punishment assessed does not exceed
the plea agreement, a defendant may appeal only those matters that were raised by
written motion filed and ruled on before trial, or after obtaining the trial court’s
permission to appeal.  Griffin v. State, 145 S.W.3d 645, 648-49 (Tex. Crim. App.
2004); Cooper v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001); Tex. R. App. P.
25.2(a)(2).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s certification of appellant’s right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex. Crim. App. 2005).  We must dismiss an appeal if the trial court’s certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We note that appellant also waived his right to appeal.  See Buck v. State,
45 S.W.3d 275, 278 (Tex. App.—Houston [1st Dist.] 2001, no pet.). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the appeal for lack of jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All pending motions are denied as moot.

PER CURIAM

Panel consists of Justices Nuchia, Jennings, and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


